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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FT. LAUDERDALE DIVISION

                        CASE NO. 21-60125-CIV-SCOLA/GOODMAN



   JIANGMEN BENLIDA PRINTED CIRCUIT
   CO., LTD.,

         Plaintiff/Counter-Defendant,

   v.

   CIRCUITRONIX, LLC,

         Defendant/Counter-Plaintiff.

   ____________________________________/

           REPORT AND RECOMMENDATIONS ON CTX-US’S RENEWED 1
          UNOPPOSED BILL OF COSTS AND SUPPORTING MEMORANDUM

         This lawsuit involves claims for breach-of-contract and account-stated by

   Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”) and a counterclaim for breach of

   contract by Circuitronix, LLC (“CTX-US”). [ECF Nos. 26; 34]. United States District Judge

   Robert N. Scola, Jr. granted CTX-US’s summary judgment motion on both counts of

   Benlida’s Complaint. [ECF No. 221]. Additionally, the jury returned a $7,585,847.00




   1     This is CTX-US’s renewed request for taxable costs. The Undersigned struck
   without prejudice and with leave to renew CTX-US’s first bill of costs and supporting
   memorandum for failure to comply with Local Rule 7.1’s conferral requirement. [ECF
   Nos. 298; 299; 310].
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   verdict in CTX-US’s favor. [ECF No. 273]. CTX-US successfully defended against

   Benlida’s claims and prevailed on its breach of contract counterclaim. Thus, CTX-US is

   the prevailing party.

          CTX-US now seeks to recover $53,970.69 in costs pursuant to 28 U.S.C. § 1920 and

   has filed an unopposed bill of costs and supporting memorandum of law. [ECF Nos. 312;

   313]. CTX-US’s certificate of conferral states that:

          [CTX-US’s] counsel certifies that she has conferred with counsel for Benlida
          regarding the relief sought in the bill of costs and this memorandum, under
          the procedure identified in Rules 7.1(a)(3) and 7.3(c), and has been
          authorized to represent that Benlida does not oppose the requested relief.
          Counsel for both parties initially conferred about CTX[-US]’s bill of costs
          during a January 16, 2024 video conference beginning at 2:00 PM, and
          counsel for Benlida again confirmed their non-opposition to the relief
          sought in the bill of costs via email on February 2, 2024 at 10:51 AM.

   [ECF No. 313, p. 9 (emphasis added)].

          Judge Scola referred to the Undersigned CTX-US’s bill of costs “for a report and

   recommendations, consistent with 28 U.S.C. § 636(b)(1)(B), Federal Rule of Civil

   Procedure 72, and Rule 1(d) of the Local Magistrate Judge Rules.” [ECF No. 309]. For the

   reasons stated below, the Undersigned respectfully recommends that the District Court

   grant in part and deny in part CTX-US’s bill of costs and award CTX-US $43,635.01 in

   taxable costs ($10,335.68 less than the requested amount).

   I.     Legal Standard

          Absent a federal statute, civil procedure rule, or order to the contrary, a prevailing

   party is entitled to an award of its costs. Fed. R. Civ. P. 54(d)(1). The prevailing party

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   must file a bill of costs that adheres to the guidelines outlined in Local Rule 7.3(c), which

   specifically references 28 U.S.C. § 1920. Under § 1920, the following costs are taxable

   against the losing party:

          (1) Fees of the clerk and marshal;

          (2) Fees for printed or electronically recorded transcripts necessarily
          obtained for use in the case;

          (3) Fees and disbursements for printing and witnesses;

          (4) Fees for exemplification and the costs of making copies of any materials
          where the copies are necessarily obtained for use in the case;

          (5) Docket fees under section 1923 of this title;

          (6) Compensation of court appointed experts, compensation of interpreters,
          and salaries, fees, expenses, and costs of special interpretation services
          under section 1828 of this title.

   28 U.S.C. § 1920.

          Although a prevailing party is entitled to taxable costs, the Court may still exercise

   discretion in awarding the costs that § 1920 enumerates. Crawford Fitting Co. v. J.T.

   Gibbons, Inc., 482 U.S. 437, 441–42 (1987). “When challenging whether costs are taxable,

   the losing party bears the burden of demonstrating that a cost is not taxable, unless the

   knowledge regarding the proposed cost is within the exclusive knowledge of the

   prevailing party.” Monelus v. Tocodrian, Inc., 609 F. Supp. 2d 1328, 1333 (S.D. Fla. 2009)

   (citations omitted). Still, the Court is limited to taxing the costs specifically authorized by




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   statute. E.E.O.C. v. W&O, Inc., 213 F.3d 600, 620 (11th Cir. 2000) (citing Crawford Fitting

   Co., 482 U.S. at 445).

   II.    Analysis

          CTX-US is the prevailing party in this case because it prevailed both at the

   summary judgment stage and at trial. [ECF Nos. 221; 273]. CTX-US is therefore entitled

   to an award of all costs recoverable under 28 U.S.C. § 1920.

          CTX-US seeks to recover the following costs: $44,271.25 for obtaining trial

   transcripts, deposition transcripts, and videos; $8,825.00 for interpreters; $15.00 in

   photocopies; and $859.44 in witness fees (including travel). [ECF No. 312].

          Although Benlida does not contest the bill of costs, [ECF No. 313, p. 9], the

   Undersigned has nonetheless independently reviewed the costs sought to determine

   whether they are both reasonable and recoverable under § 1920. See Monelus, 609 F. Supp.

   2d at 1333 (“Although [the] [p]laintiff has failed to object to the costs set forth in [the]

   [d]efendant’s [m]otion, the Court nonetheless reviews each category of the items sought

   in the [the] [d]efendant’s [m]otion, and whether [the] [d]efendant can properly receive

   monies for these categories of costs under the statute.”); Greer v. Ivey, No. 6:15-CV-677-

   Orl-41GJK, 2020 WL 2841377, at *1 (M.D. Fla. Apr. 28, 2020) (“Although the Court could

   treat the [movant’s] motion as unopposed and award all of the costs sought[,] I believe

   the better approach is to analyze each part of the application and rule accordingly.”),

   report and recommendation adopted, No. 6:15-CV-677-Orl-41GJK, 2020 WL 2838843 (M.D.


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   Fla. June 1, 2020). 2 For the reasons discussed below, some reductions to CTX-US’s bill of

   costs are warranted.

          A.     Trial Transcripts, Deposition Transcripts, and Videos

          CTX-US seeks to recover $44,271.25 for obtaining trial transcripts, deposition

   transcripts, and videos. [ECF No. 313, pp. 3–7]. Specifically, CTX-US seeks to recover

   $32,447.58 for trial and deposition transcripts, a $1,969.92 expedited transcript fee for a

   single deposition, and $9,853.75 for videos of some depositions. Id. at 6–7.

          Costs for transcripts are authorized by § 1920(2) insofar as such transcripts are

   “necessarily obtained for use in the case.” 28 U.S.C. § 1920(2). However, “where the

   deposition costs were merely incurred [for] convenience, to aid in thorough preparation,

   or for purposes of investigation only, the costs are not recoverable.” Rakip v. Paradise

   Awnings Corp., No. 10-20004-CIV, 2014 WL 12737632, at *5 (S.D. Fla. Jan. 2, 2014) (quoting

   W&O, 213 F.3d at 620); see also Shire Dev., LLC v. Mylan Pharms., Inc., No. 8:12-CV-1190-T-

   36AEP, 2018 WL 6311472, at *5 (M.D. Fla. Nov. 9, 2018) (“[C]ourt-reporter fees, shipment




   2       See also Hamilton v. Sheridan Healthcare., Inc., No. 13-62008-CIV, 2015 WL 13541032,
   at *2 (S.D. Fla. Jan. 21, 2015) (“Although [the] [p]laintiff has not opposed an award of
   costs, the undersigned finds that some of the costs sought by [the] [d]efendants are either
   not taxable under § 1920, or they exceed the permissible statutory amount. The
   undersigned, therefore, will consider the [m]otion on its merits.”), report and
   recommendation adopted sub nom. Hamilton v. Sheridan Healthcorp, Inc., No. 13-62008-CIV,
   2015 WL 13540998 (S.D. Fla. Mar. 25, 2015); Hernandez v. Gregory Land Dev. II, LLC, No.
   09-61173-CIV, 2010 WL 2846218, at *2 (S.D. Fla. July 19, 2010) (“Despite the fact that no
   opposition has been filed, this Court does not have the authority to award costs outside
   of the statutory limitations.”).
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   of depositions, costs for binders, tab, technical labor, and realtime expenses, which are

   incurred for the convenience and not necessity of counsel, are not taxable.”), report and

   recommendation adopted in part, No. 8:12-CV-1190-T-36AEP, 2018 WL 6304868 (M.D. Fla.

   Dec. 3, 2018).

          CTX-US states that “all the deposition transcripts were reasonably necessary for

   use in the case” because the “witnesses had personal knowledge of the matter and were

   disclosed by Benlida as individuals with knowledge of the matter in initial disclosures.”

   [ECF No. 313, p. 4]. It further explains that “obtaining the transcript of Tracy Huang’s

   deposition on an expedited basis [is] also recoverable because the ‘expedited rate was

   necessary’ for CTX-US to craft a compelling and adequately supported summary

   judgment motion.” Id.

          CTX-US further states that it is entitled to recover costs associated with videotaped

   depositions because: (1) Benlida made no objections to the videotaping and (2) “CTX-US

   actually played at trial selected portions of the videos of those Benlida witnesses who did

   not testify in person at trial.” Id. at 6.

          Lastly, CTX-US states that obtaining copies of the trial transcripts was necessary

   “to provide added detail regarding the evidence adduced at trial” in connection with

   CTX-US’s renewed motion for judgment as a matter of law. Id.

          The Undersigned finds that CTX-US has shown that the deposition and trial

   transcripts were reasonably obtained for use in the case and that the video depositions


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   are taxable. However, CTX-US does not address any of the “convenience fees” included

   in the itemized invoices attached to its bill of costs or the reasonableness of the per-page

   rates reflected in the invoices. [ECF No. 312-1, pp. 3–16; 25–30]. The Undersigned will

   address these costs below.

                 1.      Per-Page Rates

          The invoices submitted by CTX-US reflect per-page trial and deposition transcript

   rates of $3.50, $4.40, $4.80, and $6.15. Id. at 3–16. For the most part, the per-page transcript

   rates sought by CTX-US are reasonable and should be awarded. See, e.g., Harrell v. City of

   Opa-Locka, No. 20-CV-21927, 2022 WL 1609090, at *5 (S.D. Fla. May 3, 2022), report and

   recommendation adopted, No. 20-21927-CIV, 2022 WL 1605333 (S.D. Fla. May 20, 2022)

   (finding deposition transcript rate of $4.50 per-page to be reasonable); Stephen v. H. Lee

   Moffitt Cancer Ctr. & Rsch. Inst. Lifetime Cancer Screening Ctr., Inc., No. 8:15-CV-556-T-

   36AAS, 2017 WL 5712902, at *2 (M.D. Fla. Oct. 30, 2017), report and recommendation adopted,

   No. 8:15-CV-556-T-36AAS, 2017 WL 5705504 (M.D. Fla. Nov. 27, 2017) (awarding per-

   page rate of $4.60 for non-expedited deposition transcript).

          However, the Court should reduce the $6.15 per-page rate for the deposition of

   Randall M. Paulikens. This does not appear to be an expedited rate. 3 Additionally, CTX-




   3       CTX-US’s memorandum states that it seeks to tax an “additional expenditure for
   a single expedited transcript” [ECF No. 313, p. 6 (emphasis added)] for the deposition of
   Tracy Huang.
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   US does not explain why the per-page rate for Mr. Paulikens’ deposition exceeds the per-

   page rates charged for the other witnesses.

          The Undersigned notes that the same court reporting company (U.S. Legal

   Support) that billed the $6.15 per-page rate for Mr. Paulikens’ deposition billed a per-

   page rate of $4.80 for other depositions. See, e.g., [ECF No. 312-1, pp. 7, 9–12]. In the

   absence of any explanation for the discrepancy in these per-page rates, the Undersigned

   respectfully recommends that the District Court reduce the per-page rate for Mr.

   Paulikens’ deposition to the same $4.80 per-page rate charged for other deposition

   transcripts.

                  2.    Court Reporter Attendance Fees

          “[C]ourts in this District are split on whether [court reporter] appearance fees are

   taxable costs.” Club Madonna, Inc. v. City of Miami Beach, No. 16-25378-CIV, 2022 WL

   16701244, at *3 (S.D. Fla. Oct. 12, 2022), report and recommendation adopted, No. 16-25378-

   CIV, 2022 WL 16701615 (S.D. Fla. Nov. 3, 2022). Nonetheless, “[t]he majority of courts in

   this district and the appellate courts which have addressed the issue have found that

   court reporter attendance fees are generally recoverable under § 1920(2).” Rakip, 2014 WL

   12737632, at *6.

          The court reporter attendance fees in this case range from $95.00 to $105.00. [ECF

   No. 312-1, pp. 3–16]. The amounts sought are reasonable. See Banuchi v. City of Homestead,

   No. 20-CV-25133, 2023 WL 2587389, at *9 (S.D. Fla. Feb. 7, 2023), report and recommendation


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   adopted, No. 20-25133-CIV, 2023 WL 2585061 (S.D. Fla. Mar. 21, 2023) (finding court

   reporter attendance fees ranging from $65.00 to $365.00 to be reasonable).

          However, the Undersigned notes that the invoice for the deposition of Mr.

   Paulikens includes an item described as “In-Person Fee.” [ECF No. 312-1, p. 5]. CTX-US

   seeks to recover $200.00 for this item but provides no explanation for what this cost is or

   why it was necessary (or otherwise taxable). This cost does not appear to be a court

   reporter attendance fee because the invoice reflects that the court reporter billed

   “Appearance Fee -- Per Session.” Id. Because CTX-US has not supported this $200.00 “In-

   Person Fee,” the District Court should disallow it.

                 3.     Cancellation Fee

          CTX-US also seeks to recover a total of $230.00 for the cancellation of Chen

   Zhanjiao’s May 10, 2022 deposition. [ECF No. 312-1, p. 6]. This amount is comprised of a

   $200.00 cancellation fee and a $30.00 finance charge/late fee. Id. CTX-US provides no

   details concerning the circumstances which lead to the cancellation, nor does it provide

   any legal authority to support the taxing of this fee.

          CTX-US should not be permitted to recover the cancellation fee. See Sarabeth

   Witbart v. Mandara Spa Haw., LLC, No. 18-CV-21768, 2022 WL 1241439, at *6 (S.D. Fla. Apr.

   12, 2022), report and recommendation adopted sub nom. Witbar v. Mandara Spa (Hawaii), LLC,

   No. 1:18-CV-21768, 2022 WL 1239232 (S.D. Fla. Apr. 27, 2022) (“Because cancelation fees

   are not recoverable under [s]ection 1920, [the [d]efendant may not recover any witness


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   fess [sic] for Dr. Young.”); see also Henry v. Celebrity Cruises, Inc., No. 21-20148-CIV, 2022

   WL 17994276, at *8 (S.D. Fla. Nov. 21, 2022), report and recommendation adopted, No. 21-

   20148-CV, 2022 WL 17986794 (S.D. Fla. Dec. 28, 2022) (excluding cancellation fees from

   the costs award); George v. Chipotle Mexican Grill Serv. Co., No. 6:12-CV-845-ORL, 2014 WL

   5426519, at *4 (M.D. Fla. Oct. 24, 2014) (“The record reflects that both parties noticed Ms.

   Reyes’ deposition, and that neither party was responsible for Ms. Reyes’ failure to appear

   for her first scheduled deposition. . . . In light of the foregoing, the undersigned finds that

   [the] [d]efendants are not entitled to recover the cancelation fee.”).

          The finance charge/late fee should also not be taxed against Benlida. See Venerio v.

   Fed. Express Corp., No. 17-22624-CIV, 2018 WL 9367858, at *4 (S.D. Fla. Dec. 27, 2018),

   report and recommendation adopted, No. CV 17-22624-CIV, 2019 WL 3841902 (S.D. Fla. Jan.

   14, 2019) (excluding finance charge where movant “failed to provide support as to his

   recovery of the finance charge”).

          Accordingly, the Undersigned respectfully recommends that the District Court

   deny in its entirety the costs ($230.00) associated with the cancellation of Chen Zhanjiao’s

   deposition.

                 4.     Convenience Fees

          As noted above, “where the deposition costs were merely incurred [for]

   convenience, to aid in thorough preparation, or for purposes of investigation only, the

   costs are not recoverable.” Rakip, 2014 WL 12737632, at *5 (S.D. Fla. Jan. 2, 2014) (quoting


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   W&O, 213 F.3d at 620); see also Shire Dev., LLC, 2018 WL 6311472, at *5 (noting that

   “shipment of depositions, costs for binders, tab, technical labor, and realtime expenses,

   which are incurred for the convenience and not necessity of counsel, are not taxable”);

   Suarez v. Tremont Towing, Inc., No. 07-21430-CIV, 2008 WL 2955123, at *3 (S.D. Fla. Aug.

   1, 2008) (disallowing “courier, handling and delivery charges, charges for exhibits and

   charges for ASCII discs” as not taxable costs).

          Here, the invoices submitted by CTX-US include the following convenience

   charges: condensed transcript, litigation tech and support, transcript handling and

   processing, expert/technical pages, realtime feed connectivity, realtime feed streaming,

   exhibits (both black-and-white and color pages), video pages, and interpreter pages. [ECF

   No. 312-1, pp. 3–16]. Because CTX-US provides no explanation for why these charges

   were necessarily incurred or why they are taxable under § 1920, the Undersigned

   respectfully recommends that the District Court disallow in their entirety these

   convenience charges (delineated in more detail in the chart below).

                 5.     Video Fees

          CTX-US should be permitted to recover the cost of obtaining video depositions for

   the reasons discussed above. However, some of the invoices submitted by CTX-US include

   video convenience fees which should not be taxed against Benlida. See Andre v. Biro, No.

   19-62181-CIV, 2022 WL 889970, at *3 (S.D. Fla. Feb. 18, 2022), report and recommendation

   adopted, No. 19-62181-CIV, 2022 WL 888363 (S.D. Fla. Mar. 25, 2022) (“[T]he undersigned


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   finds the video technology package and the shipping associated with the [p]laintiff’s

   deposition to be for the convenience of the party and not recoverable.”); Bucklew v. Charter

   Commc’ns, LLC, No. 8:19-CV-2029-TPB-AAS, 2021 WL 3621892, at *3 (M.D. Fla. July 16,

   2021), report and recommendation adopted, No. 8:19-CV-2029-TPB-AAS, 2021 WL 3617404

   (M.D. Fla. Aug. 16, 2021) (declining to award remote video platform fees for

   videoconference deposition taken during the COVID-19 pandemic). The video

   convenience fees incurred in the instant case consist of media stock, video handling and

   processing, video tech package, and “Zoom setup/tech support/loaner laptop.” [ECF No.

   312-1, pp. 25–30]. The Undersigned respectfully recommends that the District Court

   disallow in their entirety these video convenience charges (delineated in more detail in

   the chart below).

                 6.      Non-Itemized Invoice

          Lastly, the invoice (totaling $4,846.53) for the depositions of Nicole Donaldson,

   Lina Ochoa, Sourabh Sharma, and Akshay Koul contains no details such as the number

   of pages, the price per-page, whether the amounts billed include any convenience charges

   or late fees, etc. [ECF No. 312, p. 14]. Without these details, the Court cannot determine

   whether the $4,846.53 billed for the four depositions was reasonable. Accordingly, the

   Undersigned respectfully recommends that the District Court disallow the entire

   amount ($4,846.53).




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         In sum, the Undersigned respectfully recommends the following transcript and

   video allowances and disallowances (grouped per invoice and in the order the invoices

   appear in ECF No. 312-1):

    Deponent            Amount    Amount           Amount        Nature of the
                        Requested Allowed          Disallowed    Disallowances
    Rishi Kukreja       $351.00   $231.00          $120.00       $20.00 (condensed
    (Con’t)                                                      transcript); $55.00
                                                                 (litigation tech &
                                                                 support; $45.00
                                                                 (transcript
                                                                 handling and
                                                                 processing)
    Randall M.          $3,153.20   $2,005.20      $1,148.00     excessive per-page
    Paulikens                                                    rate reduced from
                                                                 $6.15 to $4.80
                                                                 ($504.90); in-
                                                                 person fee
                                                                 ($200.00);
                                                                 condensed
                                                                 transcript ($30.00);
                                                                 expert/technical
                                                                 pages ($292.60);
                                                                 litigation tech, etc.
                                                                 ($55.00); transcript
                                                                 handling and
                                                                 processing
                                                                 ($65.50)
    Chen Zhanjiao       $230.00     $0.00          $230.00       failure to explain
                                                                 cancellation and
                                                                 finance charge
    Tracy Hung and    $1,630.50     $885.75        $744.75       realtime
    Roger Woo (Con't)                                            connectivity fee
                                                                 ($150.00); exhibits
                                                                 ($13.65); color
                                                                 exhibits ($36.25);
                                                                 video pages

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                                                                      ($32.25);
                                                                      condensed
                                                                      transcript ($20.00);
                                                                      litigation tech and
                                                                      support ($55.00);
                                                                      transcript
                                                                      handling and
                                                                      processing
                                                                      ($45.00); realtime
                                                                      feed streaming
                                                                      ($111.80); video
                                                                      pages ($36.00);
                                                                      condensed
                                                                      transcript ($20.00);
                                                                      litigation tech and
                                                                      support ($55.00);
                                                                      transcript
                                                                      handling and
                                                                      processing
                                                                      ($45.00); realtime
                                                                      feed streaming
                                                                      ($124.80)
       Rishi Kukreja     $1,248.90 4   $1,053.50       $195.40        exhibits ($75.40);
                                                                      condensed
                                                                      transcript ($20.00);
                                                                      transcript


   4       The total reflected in the invoice for Mr. Kukreja’s deposition is $1,248.90. [ECF
   No. 312-1, p. 8]. However, the invoice also shows a $100.00 payment/credit. Id. Thus, the
   actual amount CTX-US seeks to recover is $1,148.90. In other words, the total amount
   reflected in the bill of costs [ECF No. 312, p. 1] for this category ($44,271.25) is already
   reduced by the $100.00 payment/credit in Mr. Kukreja’s invoice [ECF No. 312-1, p. 8].

           To reflect this payment/credit on the chart, the Undersigned used the original total
   listed in Mr. Kukreja’s invoice ($1,248.90) and then reduced the total amount reflected at
   the bottom of the chart ($44,371.25) by $100.00 to account for the payment/credit reflected
   in this invoice. However, the $100.00 payment/credit is not a true “disallowance.” CTX-
   US did not even include this amount in its bill of costs. Thus, it should not be included in
   the costs awarded to it.
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                                                           handling and
                                                           processing
                                                           ($45.00); litigation
                                                           tech and support
                                                           ($55.00)
    Huang Xiangjiang    $2,577.75   $2,215.15    $362.60   exhibits ($5.85);
                                                           color exhibits
                                                           ($1.25); interpreter
                                                           pages ($117.75);
                                                           video pages
                                                           ($117.75);
                                                           condensed
                                                           transcript ($20.00);
                                                           litigation tech and
                                                           support ($55.00);
                                                           transcript
                                                           handling and
                                                           processing
                                                           ($45.00)
    Huang Sulan (aka    $5,988.17   $5,447.47    $540.70   exhibits ($34.45);
    "Tracy") 30(b)(6)                                      color exhibits
                                                           ($93.75); video
                                                           pages ($292.50);
                                                           condensed
                                                           transcript ($20.00);
                                                           litigation tech and
                                                           support ($55.00);
                                                           transcript
                                                           handling and
                                                           processing
                                                           ($45.00)
    Chen Zhanjiao       $3,105.70   $2,609.25    $496.45   exhibits ($18.20);
                                                           color exhibits
                                                           ($68.75);
                                                           interpreter pages
                                                           ($144.75); video
                                                           pages ($144.75);
                                                           condensed
                                                           transcript ($20.00);

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                                                            litigation tech and
                                                            support ($55.00);
                                                            transcript
                                                            handling and
                                                            processing
                                                            ($45.00)
    Yukun Wu, aka     $3,415.40    $2,757.55    $657.85     exhibits ($70.85);
    "Roger" or "Kunny                                       color exhibits
    Woo"                                                    ($87.50);
                                                            interpreter pages
                                                            ($189.75); video
                                                            pages ($189.75);
                                                            condensed
                                                            transcript ($20.00);
                                                            litigation tech and
                                                            support ($55.00);
                                                            transcript
                                                            handling and
                                                            processing
                                                            ($45.00)
    Huang Hanchao      $3,785.35   $3,011.95    $773.40     exhibits ($120.90);
                                                            color exhibits
                                                            ($75.00);
                                                            interpreter pages
                                                            ($228.75); video
                                                            pages ($228.75);
                                                            condensed
                                                            transcript ($20.00);
                                                            litigation tech and
                                                            support ($55.00);
                                                            transcript
                                                            handling and
                                                            processing
                                                            ($45.00)
    Nicole Donaldson   $1,000.20   $0.00        $1,000.20   failure to itemize
    Lina Ochoa         $1,022.10   $0.00        $1,022.10   failure to itemize
    Sourabh Sharma     $1,397.45   $0.00        $1,397.45   failure to itemize
    Akshay Koul        $1,426.78   $0.00        $1,426.78   failure to itemize
    Trial Transcript   $4,185.00   $4,185.00    $0.00       N/A

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    (Video) Huang        $1,110.00     $990.00         $120.00      media stock
    Sulan (Con’t) and                                               ($25.00); video
    (Video) Yukun                                                   handling and
    Wu aka Roger                                                    processing
    Woo (Con’t)                                                     ($25.00); video
                                                                    tech package --
                                                                    Huang ($35.00);
                                                                    video tech -- Wu
                                                                    package ($35.00)
    (Video) Huang        $1,797.50     $1,697.50       $100.00      Zoom setup/tech
    Xiangjiang                                                      support/loaner
                                                                    laptop ($100.00)
    (Video) Huang        $1,697.50     $1,697.50       $0.00        N/A
    Sulan
    (Video) Huang        $1,666.25     $1,666.25       $0.00        N/A
    Hanchao
    (Video) Yukun        $1,760.00     $1,760.00       $0.00        N/A
    Wu
    (Video) Chen         $1,882.50     $1,882.50       $0.00        N/A
    Zhanjiao
    Subtotal Amount      $44,371.25    $34,035.57      $10,335.68
    Payment/Credit       ($100.00)     ($100.00)
    from the Kukreja
    invoice [ECF No.
    312-1, p. 8]
    Total Amount         $44,271.25    $33,935.57      $10,335.68

          The Undersigned respectfully recommends that the District Court grant in part

   and deny in part CTX-US’s request to recover the costs of obtaining trial transcripts,

   deposition transcripts, and videos. The Court should award CTX-US $33,935.57

   ($44,271.25 minus $10,335.68) in costs for this category.




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          B.     Deposition Interpreters

          CTX-US further seeks to recover $8,825.00 for interpretation services used during

   the depositions of: (1) Douglas Hanchao, (2) Roger Wu, (3) Chen Zhanjiao, and (4) Huang

   Xiangjiang. [ECF No. 313, p. 7]. CTX-US states that it retained the services of interpreters

   for these depositions “based upon Benlida’s counsel’s representation that these witnesses

   either required or preferred to testify through a Mandarin or Cantonese interpreter.” Id.

          Section 1920(6) allows for the recovery of costs for “[c]ompensation of court

   appointed experts, compensation of interpreters, and salaries, fees, expenses, and costs

   of special interpretation services under section 1828 of this title.” 28 U.S.C. § 1920(6)

   (emphasis added). Interpreter fees are therefore recoverable. See Crespo Rivero v. Carolina

   Godoy, No. 18-23087-CIV, 2019 WL 1178472, at *5 (S.D. Fla. Feb. 26, 2019), report and

   recommendation adopted sub nom. Crespo Rivero v. Godoy, No. 18-23087-CIV, 2019 WL

   2245416 (S.D. Fla. Apr. 11, 2019) (awarding costs for interpreter fees under § 1920(6)).

          The hourly rates charged by the interpreters in this case were $175.00 and in one

   instance, $262.50 for “overtime hours.” The Undersigned finds both rates are reasonable.

   See Direct Niche, LLC v. Via Varejo S/A, No. 15-CV-62344, 2018 WL 1830794, at *3 (S.D. Fla.

   Jan. 30, 2018), report and recommendation adopted in part, No. 15-CV-62344, 2018 WL

   3672227 (S.D. Fla. May 8, 2018) (approving trial interpreter fees of $1,440.00 for eight

   hours and $360.00 for two hours, i.e., $180 per hour); Occeant v. Wizquip, Inc., No. 12-

   60064-CIV, 2013 WL 12149586, at *3 (S.D. Fla. Aug. 21, 2013), report and recommendation


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   adopted, No. 12-60064-CIV, 2013 WL 12149094 (S.D. Fla. Sept. 10, 2013) (approving

   interpreter fee of $180 per hour); Farstone Tech., Inc. v. Apple Inc., No. 8:13-CV-1537-ODW

   (JEMx), 2016 WL 5799290, at *3 (C.D. Cal. Sept. 30, 2016) (permitting interpreter overtime

   costs of $225 per hour).

          The invoices also reflect a flat fee of $50.00 for an “interpreting administrative fee

   (exotic/rare).” [ECF No. 312-1, pp. 18–23]. This charge is both taxable and reasonable. See

   Apple Inc. v. Samsung Elecs. Co., No. 5:12-CV-00630-LHK, 2015 WL 4967769, at *14 (N.D.

   Cal. Aug. 20, 2015) (“The Court finds that Apple has met its burden of providing

   appropriate documentation to support the assertion that the charges for ‘exotic

   interpreting services’ are taxable.”).

          Finally, the interpreter’s travel expenses are also reasonable and compensable. See

   Suppa v. Costa Crociere, S.p.A., No. 07-60526-CIV, 2008 WL 4629078, at *3 (S.D. Fla. Oct. 17,

   2008) (“The Court finds that the travel and parking expenses totaling $259.00 were

   included in the “compensation” of the interpreter and, therefore, such expenses will be

   included in the amount awarded to [the] [d]efendants.”).

          The Undersigned respectfully recommends that the District Court grant CTX-

   US’s request for costs associated with obtaining interpreter services. The Court should

   award CTX-US the full $8,825.00 requested.




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          C.     Copying Costs

          CTX-US seeks to recover $15.00 in copying costs. [ECF No. 313, p. 7]. CTX-US’s

   counsel represents to the Court that this is not the full amount of copying costs incurred

   in the litigation. [ECF No. 312-1, ¶ 5 (“This modest sum represents a significant

   downward departure from the total costs of copying incurred over the course of the

   litigation by CTX[-US]’s counsel, for which we did not charge CTX[-US].”)]. She also

   states that these costs were for materials used in the case and included exhibits used at

   trial and during depositions.

          Insofar as the prevailing party demonstrates that the printing of exhibits was

   necessarily obtained for use in the case, “trial exhibits . . . are expressly taxable.” Voudy v.

   Israel, No. 15-60129-CV, 2018 WL 4462196, at *2 (S.D. Fla. June 28, 2018), report and

   recommendation adopted sub nom., Voudy v. Sheriff of Broward Cty. Fla., No. 15-60129-CIV-

   WPD, 2018 WL 4409842 (S.D. Fla. July 31, 2018) (citing Beach-Mathura v. Am. Airlines, Inc.,

   571 F. App’x 810, 813 (11th Cir. 2014)).

          CTX-US has carried its burden of demonstrating that the copying costs sought are

   more than reasonable and were necessarily incurred for use in the case. The Undersigned

   respectfully recommends that the District Court grant CTX-US the requested $15.00 in

   copying costs.




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          D.     Fees for Witnesses

          CTX-US also seeks to recover $859.44 to secure the attendance of witnesses at

   deposition or trial. [ECF No. 313, p. 7–8]. This amount consists of: (1) attendance fees for

   five trial witnesses ($320.00 at $40.00 per day, per witness); (2) overnight lodging for

   Sourabh Sharma’s attendance at trial ($338 for two nights’ stay at a $169 rate); and (3)

   mileage costs for other witnesses. Id. at 8; [ECF No. 312, p. 2].

          Generally, a witness’ travel costs are recoverable provided the party requesting

   travel costs supplies detailed documentation of the expenses incurred. James v. Wash

   Depot Holdings, Inc., 242 F.R.D. 645, 651 (S.D. Fla. 2007). Although recoverable, taxation of

   these costs is limited by the parameters of 28 U.S.C. § 1821. Section 1821 permits the

   taxation of airfare by common carrier, mileage costs as prescribed by the Administrator

   of General Services, miscellaneous fees for tolls or taxicab fares between carrier terminals

   and places of lodging, and a subsistence allowance at the government rate for witnesses

   for whom an overnight stay is required. 28 U.S.C. § 1821(c)–(d).

          Here, CTX-US includes a breakdown of the requested witness fees. See [ECF No.

   312, p. 2]. CTX-US is entitled to recover the $40.00 per day, per witness attendance fee.

   “Section 1821 provides that ‘[a] witness shall be paid an attendance fee of $40 per day for

   each day’s attendance’ at deposition or trial. Lopez v. Zoll Servs., LLC, No. 21-CV-22433,

   2024 WL 264142, at *3 (S.D. Fla. Jan. 8, 2024), report and recommendation adopted, No. 21-

   22433-CIV, 2024 WL 262698 (S.D. Fla. Jan. 24, 2024) (quoting 28 U.S.C. § 1821(2)(b)).


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          CTX-US is also entitled to recover the requested mileage expenses. The

   Undersigned notes that at the time of trial (October 2023), the government mileage rate

   for   privately   owned     vehicles    was        $0.655.   See   https://www.gsa.gov/plan-

   book/transportation-airfare-pov-etc/privately-owned-vehicle-pov-mileage-

   reimbursement (last visited Feb. 13, 2024). The mileage fees sought by CTX-US conform

   with this rate (and in one instance is slightly below the rate, $0.650). Therefore, the

   mileage costs sought by CTX-US are both taxable and reasonable.

          Lastly, CTX-US seeks to recover $338.00 (two nights) in lodging expenses for one

   witness. “Under § 1821, [a prevailing party] may recover testifying witness fees that

   include actual expenses of a common carrier (i.e., flights, taxis, rental cars, etc.), and a

   subsistence allowance which includes the cost of hotels and food.” Integrity Factoring Grp.

   Inc. v. Powerhouse Fresh Holdings, LLC, No. 17-81314-CIV, 2018 WL 7954547, at *2 (S.D. Fla.

   Sept. 28, 2018) (citing 28 U.S.C. § 1821). This “per diem subsistence allowance may not

   exceed the maximum per diem allowance set by the General Services Administration . . .

   for federal employees.” Wilshire Ins. Co. v. Casablanca on the Bay, Inc., No. 15-21644-CIV,

   2018 WL 4829215, at *5 (S.D. Fla. July 20, 2018). The applicable per diem rate for Miami

   in October 2023 was $169 per day (excluding taxes). See https://www.gsa.gov/travel/plan-

   book/per-diem-rates/per-diem-rates-results?fiscal_year=2024&state=FL&perdiemSearch

   VO_city=Miami&action=perdiems_report&zip=&op=Find+Rates&form_build_id=form-

   EyoIj49KmD5YhsZIGs8Hzd4kpM-A7nonZjeo_pepXhQ&form_id=perdiem_form                        (last


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   visited Feb. 13, 2024). The amount CTX-US seeks to recover, $338.00 for two nights (or

   $169.00 per night), is consistent with the allowable per diem rate. Therefore, CTX-US

   should be permitted to recover the full $338.00 sought.

          In sum, the Undersigned respectfully recommends that the District Court grant

   CTX-US the requested $859.44 in witness fees.

          E.     Post-Judgment Interest

          Finally, CTX-US argues that it is “entitled to interest on the amount of the costs

   from the date of judgment (December 1, 2023).” [ECF No. 313, p. 8]. The Undersigned

   agrees. “[P]ost-judgment interest automatically accrues under 28 U.S.C. § 1961.” Landi v.

   Home Depot USA, Inc., No. 2:17-CV-701-FtM-38MRM, 2020 WL 10465289, at *1 (M.D. Fla.

   July 22, 2020); see also BP Prod. N. Am., Inc. v. Youssef, 296 F. Supp. 2d 1351, 1355 (M.D. Fla.

   2004) (“By force of Section 1961, a judgment bears interest at the statutory rate, even

   without a demand by the plaintiff or an order of the court.”).

          Accordingly, the Undersigned respectfully recommends that the District Court

   grant CTX-US’s request for post-judgment interest.

   III.   Conclusion

          For the reasons stated above, the Undersigned respectfully recommends that the

   District Court grant in part and deny in part CTX-US’s bill of costs and award it

   $43,635.01 in taxable costs ($33,935.57 for trial transcripts, deposition transcripts, and

   videos; $8,825.00 for deposition interpreters; $15.00 in copying costs; and $859.44 for


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   securing the attendance of witnesses, plus interest from the date of the final judgment

   (December 1, 2023).

   IV.    Objections

          The parties will have 14 days from the date of being served with a copy of this

   Report and Recommendations within which to file written objections, if any, with the

   United States District Judge. Each party may file a response to the other party’s objection

   within 14 days of the objection. Failure to file objections timely shall bar the parties from

   a de novo determination by the District Judge of an issue covered in the Report and shall

   bar the parties from attacking on appeal unobjected-to factual and legal conclusions

   contained in this Report except upon grounds of plain error if necessary in the interest of

   justice. See 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson,

   885 F.2d 790, 794 (11th Cir. 1989); 11th Cir. R. 3-1 (2016).

          RESPECTFULLY RECOMMENDED, in Chambers, in Miami, Florida, on

   February 13, 2024.




   Copies furnished to:
   The Honorable Robert N. Scola, Jr.
   All Counsel of Record


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